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RICK A. YARNALL                                                              E-FILED
CHAPTER 13 BANKRUPTCY TRUSTEE
701 Bridger Ave, Suite 820
Las Vegas, NV 89101
(702) 853-4500
RAY13mail@LasVegas13.com

                                     UNITED STATES BANKRUPTCY COURT
                                             NEVADA DIVISION

IN RE:                                                             CASE NO: BKS-23-10744-ABL
TAMARA L WILLIAMS

                                                                   CHAPTER 13 TRUSTEE'S NOTICE TO
                            Debtor                                 DEBTOR(S) AND CREDITORS OF FILED
Attorney for Debtor:                                               CLAIMS, CLASSIFICATION, AND PROPOSED
       FAIR FEE LEGAL SERVICES                                     DISTRIBUTION-ADDITIONAL

TO DEBTOR(S), ALL CREDITORS AND PARTIES IN INTEREST:

YOU WILL PLEASE TAKE NOTICE that Rick A. Yarnall, Chapter 13 Bankruptcy Trustee, has reviewed the Clerk
of the U.S. Bankruptcy Court, District of Nevada, Claims Register and each individual Proof of Claim filed in the
above entitled case after the 90 day Bar Date . Government claims will be reviewed after the 180 day bar date and
notice will be sent if applicable.

YOU WILL PLEASE TAKE FURTHER NOTICE that a creditor will receive no disbursement under the
terms of the confirmed plan until an allowed proof of claim has been filed by or on behalf of such creditor .

THIS NOTICE AMENDS information which was previously provided in the Chapter 13 Trustee’s Notice to
Debtor(s) and Creditors of Filed Claims, Classification, and Proposed Distribution by adding a new claim.


YOU WILL PLEASE TAKE FURTHER NOTICE that the above named Debtor (s), each creditor and all other
parties in interest must verify that their respective claim (s) filed with the Clerk contains the same information AS
SET FORTH BELOW to include but not limited to: (1 )the creditor’s claim was filed or not filed; (2)the creditor’s
address to receive payments is accurate; (3)the claim amount is accurate; (4)the creditor’s claim is scheduled as
either “timely filed”, “late filed” or “not filed”; (5)that the classification of the creditor’s claim as either “secured” ,
“priority”, “unsecured”, “direct pay by debtor”, “surrendered”, “no provision”, or such other applicable
classification, is accurate; (6)and that the treatment and payment on each creditor’s claim (including, if appropriate,
the payment of and rate of interest ), is accurate in accordance with Order (s) Confirming Chapter 13 Plan.

YOU WILL PLEASE TAKE FURTHER NOTICE that if the creditor’s claim , as filed with the Clerk of the
Bankruptcy Court, is not accurate for any reason, including the reasons set forth above; then you must timely file a
written objection to the Chapter 13 Trustee’s Notice to Debtor(s) and Creditors of Filed Claims, Classification, and
Proposed Distribution-Additional within twenty-one (21) days of this notice. The written objection must be filed or
e-filed with the Clerk of the U.S. Bankruptcy Court, 300 Las Vegas Blvd. South, Fourth Floor, Las Vegas, Nevada
89101 and served, if applicable, upon any appropriate creditor(s), the debtor(s), debtor’s attorney and the Chapter 13
Bankruptcy Trustee whose mailing address is set forth above , along with the date, time, and place of the hearing on
the objection with a minimum of twenty-one (21) days notice.

YOU WILL PLEASE TAKE FURTHER NOTICE that in the absence of a written objection , the Debtor(s), creditors
and parties in interest listed below shall be deemed to have approved the Chapter 13 Trustee’s Notice to Debtor(s)
and Creditors of Filed Claims, Classification, and Proposed Distribution-Additional. No further Order of the Court
will be entered in the absence of any objection to this notice .

NOTICE IS HEREBY GIVEN that the following list below is a recapitulated itemization of the Additional filed
proof of claim, classification of claim, and proposed distribution:
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TAMARA L WILLIAMS                                                                          BKS-23-10744-ABL
NAME AND ADDDRESS OF CREDITOR                   AMOUNT          CLASSIFICATION


MATAN PAZ                                        $59,331.01  UNSECURED                              0832
1185 PAULA DR                                AT 0.00% INT
CAMPBELL, CA 95008                           FROM 02/28/2023 0-100% TO BE PAID**
                                             TRUSTEE CLAIM# 00026 / COURT CLAIM # 11


**The exact percentage dividend to be paid, if any, to the unsecured creditors cannot be determined at this
time and will not be determined until the closing of the case . There are many factors which can affect the
dividend, such as, but not limited to: increased administrative expenses or other factors which may reduce the
dividend; increased income to the estate which may increase the dividend ; or a modified plan which may
affect the dividend either way. Please refer to the latest Confirmed or Modified Chapter 13 Plan .

                                                           /s/ Kim Baxter
Dated: 8/14/2023                                           for Rick A. Yarnall
                                                           Chapter 13 Bankruptcy Trustee
